Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 1 of 35     PageID #: 153




                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE

UNITED STATES OF AMERICA,           )
                                    )
      Plaintiff,                    )
                                    )
               v.                   )    Civil Action No. 2:19-cv-00122-DBH
                                    )
GLOBAL PARTNERS LP;                 )
GLOBAL COMPANIES LLC;               )
CHELSEA SANDWICH LLC,               )
                                    )
                                    )
      Defendants.                   )
                                    )

          UNITED STATES’ CONSENTED-TO MOTION TO ENTER
     CONSENT DECREE WITH INCORPORATED MEMORANDUM OF LAW
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 2 of 35                                                              PageID #: 154




                                                  TABLE OF CONTENTS

   I.     BACKGROUND ...........................................................................................................2
          A. Statutes And Regulations .................................................................................................... 2
          B. Defendants’ Facility And Underlying Facts ....................................................................... 5
          C. Complaint............................................................................................................................ 8
          D. Litigation Costs and Risks .................................................................................................. 8
   II.    THE CONSENT DECREE ....................................................................................................... 9
          A. Injunctive Relief and Other Measures .............................................................................. 10
          B. Supplemental Environmental Project ............................................................................... 12
          C. Penalty .............................................................................................................................. 14
   III.   ARGUMENT .......................................................................................................................... 14
             A. Legal Standard for Approval of a Consent Decree .................................................... 14
             B. The Decree Is Reasonable, Fair and Consistent with the Act .................................... 18
                 1. The Consent Decree is Fair .................................................................................. 18
                 2. The Consent Decree is Reasonable ...................................................................... 21
                 3. The Consent Decree Advances the Act’s Goals .................................................. 23
             C. The Comments Received During the Period for Public Comment Do Not
                 Warrant Disapproval of the Consent Decree .............................................................. 23
   IV.    CONCLUSION ....................................................................................................................... 27




                                                                     ii
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 3 of 35                                                       PageID #: 155




                                                 TABLE OF AUTHORITIES

Cases:

City of Bangor v. Citizens Commc’n Co.,
   532 F.3d 70 (1st Cir. 2008) ........................................................................................... 15, 19, 20
Conservation Law Found. of New England, Inc. v. Franklin,
   989 F.2d 54 (1st Cir. 1993) ................................................................................................. 14, 16
Cotton v. Hinton,
   559 F.2d 1326 (5th Cir. 1977) .................................................................................................. 17
Fed. Trade Comm’n v. Standard Fin. Mgmt. Corp.,
   830 F.2d 404 (1st Cir. 1987) ..................................................................................................... 16
FTC v. Guignon,
   390 F.2d 323 (8th Cir. 1968) .................................................................................................... 17
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   654 F. Supp. 1042 (E.D. Pa. 1987),
       aff'd 820 F.2d 592 (3d. Cir. 1987 ........................................................................................ 15
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   712 F. Supp. 1019 (D. Mass. 1989) .......................................................................................... 16
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Sam Fox Publ’g Co. v. United States,
   366 U.S. 683 (1961) ............................................................................................................ 16, 17
Swift & Co. v. United States,
   276 U.S. 311 (1928) .................................................................................................................. 17
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   648 F.2d 660 (9th Cir. 1981) .................................................................................................... 17
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   720 F. Supp. 1027 (D. Mass. 1989) .................................................................................... 16, 20
United States v. Cannons Eng’g Corp.,
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   261 F.3d 1 (1st Cir. 2001) ............................................................................................. 18, 20, 21
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   933 F.Supp. 42 (D.D.C. 1996) ...................................................................................... 19, 21, 22
United States v. Hercules, Inc.,
                                                                    iii
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 4 of 35                                                            PageID #: 156




  961 F.2d 796 (8th Cir. 1992) .................................................................................................... 17
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  2008 WL 863975 (D. Colo. Mar. 26, 2008) ............................................................................. 21
United States v. Oregon,
  913 F.2d 576 (9th Cir. 1990) .................................................................................................... 20
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Statutes:

The Clean Air Act ("CAA")
  Section 101(b)(1), 42 U.S.C. § 7401(b)(1) ............................................................................... 23
  Section 110(a), 42 U.S.C. § 7410(a) ........................................................................................... 2
  Section 112, 42 U.S.C. § 7412 .................................................................................................. 25
  Section 113(a), 42 U.S.C. § 7413(a) ........................................................................................... 7
  Section 113(a)(1), 42 U.S.C. § 7413(a)(1).................................................................................. 2
  Section 113(a)-(b), 42 U.S.C. § 7413(a)-(b) ............................................................................... 2
  Section 113(b), 42 U.S.C. § 7413(b) .......................................................................................... 8
  Section 114, 42 U.S.C. § 7414 .................................................................................................... 6
  Section 184c(b)92), 42 U.S.C. § 7511c(b)(2) ............................................................................. 3
  Section 502(2)(B), 42 U.S.C. § 7661(2)(B) ................................................................................ 4
  Section 502a(a), 42 U.S.C. § 7661a(a) ................................................................................... 4, 8
  Section 502b(c), 42 U.S.C. § 7661b(c) ....................................................................................... 4

Regulations:

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40 C.F.R § 70.5 ............................................................................................................................... 4
40 C.F.R §§ 70.2 ............................................................................................................................. 4
40 C.F.R. § 50.9 .............................................................................................................................. 3
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40 C.F.R. Part 70............................................................................................................................. 4

Other Authorities:

56 Fed. Reg. 56694 ......................................................................................................................... 3
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                                                                       iv
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 5 of 35                                                             PageID #: 157




INTERNET SOURCES

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environmental-projects-policy. .....................................................................................................12


                                                                        v
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 6 of 35                                   PageID #: 158




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https://www.epa.gov/burnwise/wood-smoke-and-your-health .....................................................13




                                                         vi
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 7 of 35                       PageID #: 159




           Plaintiff, the United States of America, on behalf of the United States Environmental

Protection Agency (“EPA”), respectfully submits this consented-to motion to enter the Consent

Decree lodged with the Court on March 25, 2019 (the “Consent Decree” or “Decree”).

Consistent with 28 C.F.R. § 50.7, the proposed Decree provides, in Paragraph 79, for a 30-day

public comment period. This period began upon the publication of a notice of the Decree’s

lodging in the Federal Register on April 1, 2019. 1 Considering the level of public interest in the

proposed Consent Decree, including requests by the City of South Portland and others for an

extension of the public comment period, the United States published a subsequent notice in the

Federal Register on May 2, 2019, extending the public comment period through July 1, 2019. 2

During the entire comment period, which is now closed, the United States received

approximately 90 public comments. These comments are attached to this Memorandum as

Exhibit 1, and are referenced by Bates number. The United States has prepared a

Responsiveness Summary, responding to the Comments, which is attached to this Memorandum

as Exhibit 2. After carefully reviewing the comments, the United States concludes that the

Consent Decree is fair, reasonable, and consistent with the Clean Air Act. Accordingly, the

United States requests that the Court approve the Consent Decree and enter it as an order of the

Court. Defendants, Global Partners LP, Global Companies LLC, and Chelsea Sandwich LLC

(collectively, “Global” or “Defendants”), consent to entry of the Decree. 3




1
    See 84 Fed. Reg. 12293-94 (Apr. 1, 2019).
2
    See 84 Fed. Reg. 18867-68 (May 2, 2019).
3
    See Decree ¶ 79.

                                                   1
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 8 of 35                             PageID #: 160




I.         BACKGROUND

           A.       Statutes And Regulations

           The United States filed the Complaint on March 25, 2019, under Section 113(a)(1) of the

Clean Air Act (the “Act” or “CAA”), 42 U.S.C. § 7413(a)(1), alleging violations of the Maine

state implementation plan (“ME SIP”). Section 110(a) of the Act, 42 U.S.C. § 7410(a), requires

that each state prepare a state implementation plan (“SIP”) incorporating regulations designed to

attain and maintain healthful air quality. A state must submit its SIP, and any revisions to the

SIP, to EPA for approval. If EPA approves a SIP, EPA may enforce the SIP’s requirements and

any SIP-authorized permits. 4 The Maine SIP has been approved by EPA. 5

           The specific environmental concern addressed by the United States’ Complaint is the

formation of ground-level ozone that may occur as a result of excess or unlicensed emissions of

volatile organic compounds (“VOCs”). 6 In that regard, the Complaint seeks civil penalties and

injunctive relief arising from excess and unlicensed emissions of VOCs at Defendants’

petroleum storage facility in South Portland, Maine (the “Facility”). VOC emissions contribute

to ground-level ozone. 7 Ground-level ozone is a primary ingredient in smog. 8 Ozone forms




4
    See Section 113(a)-(b), 42 U.S.C. § 7413(a)-(b).
5
 See generally EPA Approved Regulations in the Maine SIP, available on EPA’s website at
https://www.epa.gov/sips-me/epa-approved-regulations-maine-sip.
6
    See Declaration of Elizabeth A. Kudarauskas, attached as Exhibit 3, at ¶ 2.
7
 See generally Region 1: EPA New England – The Ozone Problem, available on EPA’s website at
https://www3.epa.gov/region1/airquality/oz_prob.html.
8
 See Ground-Level Ozone Pollution – Ground-Level Ozone Basics, available on EPA’s website at
https://www.epa.gov/ground-level-ozone-pollution/ground-level-ozone-basics.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 9 of 35                                    PageID #: 161




when VOCs react with oxides of nitrogen (“NOx”) in sunlight. 9 Under the Act, EPA has

designated ozone as an ambient air pollutant, and has developed a national ambient air quality

standard (“NAAQS”) for ozone. 10 From 1992 through 2006, South Portland, Maine, was in a

NAAQS nonattainment area for ozone. 11 12 During that time, under Section 184(b)(2) of the

Act, 42 U.S.C. § 7511c(b)(2), states in the Ozone Transport Region 13 were required to

incorporate more stringent VOC controls than those required in ozone attainment areas.

Although, since 2007, South Portland has been designated as an attainment area for ozone, it

remains subject to nonattainment area VOC emission control requirements under the ME SIP

because it is in an Ozone Transport Region. 14 To control ozone formation, EPA and states have

generally sought to control VOCs and NOx emissions. 15




9
 See generally Region 1: EPA New England – The Ozone Problem, available on EPA’s website at
https://www3.epa.gov/region1/airquality/oz_prob.html.
10
     See 40 C.F.R. § 50.9.
11
     See 56 Fed. Reg. 56694, 56772 (1991).
12
  Areas where the air quality falls short of a NAAQS, such as ozone, are designated as “nonattainment areas.” See
The Clean Air Act in a Nutshell: How it Works, page 4, available on EPA’s website at
https://www.epa.gov/sites/production/files/2015-05/documents/caa_nutshell.pdf. Areas where air quality meets
NAAQS standards are called “attainment areas.” See id.
13
  The Ozone Transport Region, which includes 12 states along the East Coast and the District of Columbia, from
Maine to Virginia, requires specified controls for ozone. See generally The Clean Air Act in a Nutshell: How it
Works, page 8, available on EPA’s website at https://www.epa.gov/sites/production/files/2015-
05/documents/caa_nutshell.pdf.

14
     See 71 Fed. Reg. 71489, 71491 (2006).
15
  The Act’s structure requires the cooperation of states to reduce air pollution. For example, when states develop
SIPs to reduce air pollutants to allowable levels, they include a permit system as part of their plan to make sure
power plants, factories, and other pollution sources meet their goals to clean up the air. See generally The Plain
English Guide To The Clean Air Act, April 2007, at page 7, available at https://www.epa.gov/clean-air-act-
overview/plain-english-guide-clean-air-act.


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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 10 of 35                                     PageID #: 162




           In that regard, Chapter 115 of the ME SIP prohibits the emission of any air contaminant,

such as VOCs, from any source without an air emission license. In order to receive an air

emission license under Chapter 115, Section V.A.2.a of the ME SIP, an owner or operator must

demonstrate, among other things, that the air emissions from its facility will receive “best

practical treatment” (“BPT”), including where appropriate the technology requirements specified

in Section VI of Chapter 115. Under Chapter 134 of the ME SIP, entitled “Reasonably Available

Control Technology for Facilities that Emit Volatile Organic Compounds,” the owner or operator

of any facility that emits or has the potential to emit at least 40 tons per calendar year of VOCs,

and does not fall within an enumerated exemption, must comply with reasonably available

control technology (“RACT”) requirements.

           Additional requirements apply to a “major source” of air pollution. A major source is

defined in Chapter 100 of the ME SIP as any source subject to 40 C.F.R. Part 70 that has not

been issued a Part 70 license (i.e., an operating permit under Title V of the Act) and that emits or

has the potential to emit 50 tons per year or more of VOCs. 16 Section 503(c) of the Act, 42

U.S.C. § 7661b(c), and 40 C.F.R § 70.5, require a major source of air pollution to apply for and

obtain a Title V operating permit no later than 12 months after becoming subject to a federally

approved state Title V operating permit program, or any earlier date that the affected state may

establish. Maine has an approved Title V operating permit program, which is set forth in

Chapter 140 of the ME SIP. Section 502(a) of the Act, 42 U.S.C. § 7661a(a), and 40 C.F.R.




16
     See also Section 501(2)(B) of the Act, 42 U.S.C. § 7661(2)(B), and 40 C.F.R §§ 70.2 and 70.3(a) and (b).

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 11 of 35                                   PageID #: 163




§ 70.7(b), prohibit a major source from operating except in accordance with a Title V operating

permit after the effective date of any permit program approved or promulgated under Title V.

               B.     Defendants’ Facility And Underlying Facts

               Defendants own and operate storage and distribution facilities for petroleum products in

New England, including the Facility. 17 The Facility contains 12 petroleum storage tanks. 18

Defendants use four heated tanks to store No. 6 oil and asphalt. 19 Defendants’ activities at the

Facility include, for example, the transfer of petroleum products, including heated No. 6 oil and

asphalt, from barges or other vessels on the Fore River, through pipes, to the Facility’s storage

tanks. 20 From these tanks, the petroleum products, including No. 6 oil and asphalt, are loaded

into tanker trucks (by pumping the products through pipes to a truck loading rack) or into marine

vessels. 21

               As alleged in the Complaint, No. 6 oil and asphalt are solid or semi-solid at ambient

temperatures and must be kept heated to remain in a liquid state, with low enough viscosity so

that these products can be pumped in and out of barges or other vessels, storage tanks, and tanker




17
  See Global Partners LP homepage, available at http://www.globalp.com (noting that Global “owns, controls or has
access to one of the largest terminal networks in New England and New York, through which it distributes gasoline,
distillates, residual oil and renewable fuels to wholesalers, retailers, and commercial customers”) (visited on Aug.
16, 2019).
18
  See Air Emissions License Renewal, at pages 2, 8, 13, and License Emission Amendment at page 2 and 3,
attached as Ex. A to the Declaration of Elizabeth A. Kudarauskas (Ex. 3).
19
     See id.
20
     See id.
21
     See id.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 12 of 35                                    PageID #: 164




trucks. 22 Accordingly, the tanks used to store No. 6 oil and asphalt are heated tanks. 23 However,

heating the No. 6 oil and asphalt above ambient temperatures increases their VOC emissions. 24

In December 2007, Global Partners submitted a voluntary self-disclosure to EPA describing

elevated VOC emissions from No. 6 oil in heated tanks at its facility in Chelsea,

Massachusetts. 25 Subsequently, in 2011 and 2012, EPA required Global Partners LP to select a

facility and test its VOC emissions from No. 6 oil and asphalt, under authority of Section 114 of

the Act, 42 U.S.C. § 7414. 26 In response, from 2012 to 2013, Defendants conducted emissions

testing at the South Portland Facility. 27

           Based on the results of this testing, on June 6, 2014, EPA issued a Notice of Violation

(“NOV”) to Defendants. 28 In the 2014 NOV, EPA notified Global of its finding that the Facility

was a major source of VOCs. 29 The NOV also notified Global that it was required to obtain a


22
   See Complaint ¶; see generally Ex. 3 (Kudarauskas Decl.) at ¶¶ 4-6; Air Emissions License Renewal, at pages 2,
8, and 13, and License Emission Amendment at pages 2 and 3, attached as Ex. A to the Declaration of Elizabeth A.
Kudarauskas (Ex. 3).
23
 See Ex. 3 (Kudarauskas Decl.) at ¶¶ 4-6; Air Emissions License Renewal, at pages 2, 8, and 13, and License
Emission Amendment at pages 2 and 3, attached as Ex. A to the Declaration of Elizabeth A. Kudarauskas (Ex. 3).
24
     See Ex. 3 (Kudarauskas Decl.) at ¶ 6.
25
  See December 10, 2007 Letter from Global Companies LLC to Edward Pawlowski (Massachusetts Department of
Environmental Protection) and Joel Blumstein (EPA), attached as Exhibit B to the Declaration of Elizabeth A.
Kudarauskas (Ex. 3).
26
   See generally EPA reporting requirements directed to Global Partners, dated November 2, 2011, and March 29,
2012, attached as Exhibit C to the Declaration of Elizabeth A. Kudarauskas (Ex. 3).
27
 See Notice of Violation, dated June 6, 2014, at 2, attached as Exhibit D to the Declaration of Elizabeth A.
Kudarauskas (Ex. 3).
28
 See generally Notice of Violation, dated June 6, 2014, attached as Exhibit D to the Declaration of Elizabeth A.
Kudarauskas (Ex. 3).
29
 See Notice of Violation, dated June 6, 2014, at 3, attached as Exhibit D to the Declaration of Elizabeth A.
Kudarauskas (Ex. 3).

                                                          6
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 13 of 35                                   PageID #: 165




license from the Maine Department of Environmental Protection (“ME DEP”) authorizing

Defendants to emit VOCs from the storage and distribution of No. 6 oil and asphalt at the

Facility. 30 Under the ME SIP, as provided in the NOV, such a license would require a minimum

of BPT for these VOC emissions. 31 The 2014 NOV also found that Defendants exceeded the

facility-wide VOC emissions limit in its existing State license for the Facility. 32

               Because Defendants’ VOC emissions testing at the Facility revealed that the potential

emissions from the Facility’s No. 6 oil and asphalt transfer, storage, and loading activities exceed

40 tons per year, EPA issued a second NOV in 2015, finding that the Facility also was subject to

and failed to comply with VOC RACT requirements in the ME SIP. 33

               Consistent with EPA’s practices nationwide, at the time it issued the NOVs in 2014 and

2015, EPA provided copies to the state environmental agency, ME DEP, of the NOVs it had

issued to Defendants, as required by Section 113(a) of the Act, 42 U.S.C. § 7413(a) 34 After

sending the NOVs to ME DEP, EPA also recorded the issuance of the NOVs on EPA’s publicly

searchable database, Enforcement and Compliance History Online (also known as “ECHO”). 35

ECHO is a free, online, searchable database, currently available at http://echo.epa.gov, that

houses information about EPA’s environmental enforcement activity nationwide. And,


30
     See id.
31
     See id.
32
     See id.
33
 See generally Notice of Violation, dated April 7, 2015, attached as Exhibit D to the Declaration of Elizabeth A.
Kudarauskas (Ex. 3).
34
     See Ex. 3 (Kudarauskas Decl.) at ¶ 14.
35
     See id.at ¶ 15.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 14 of 35                                   PageID #: 166




consistent with the Act, the United States also gave Maine notice of the United States’ Complaint

against Global. 36

           C.       Complaint

           Based on Defendants’ emissions testing data at the Facility, and Region 1’s calculations

of the potential to emit VOCs from the Facility, the United States alleges in the Complaint that

Defendants violated the Act and the ME SIP. The Complaint includes four counts: Defendants

violated, and continue to violate: (1) Chapter 115 of the ME SIP, by failing to obtain an

emissions license addressing VOC emissions and failing to control VOC emissions by applying

at a minimum BPT to the Facility’s No. 6 oil and asphalt transfer, storage, and loading activities;

(2) Chapter 115 of the ME SIP by failing to comply with the Facility’s existing license by

exceeding the existing license’s VOC emissions limit; (3) Chapter 134 of the ME SIP by failing

to comply with RACT requirements at the Facility because the Facility has the potential to emit

VOCs at a level greater than 40 tons per year; and (4) Sections 502(a) and 503(c) of the Act, 42

U.S.C. §§ 7661a(a) and 7661b(c), by failing to obtain a Title V operating permit because the

Facility is a major source of VOCs. 37

           D.       Litigation Costs and Risks


           As in any litigated matter, we expect that Defendants would challenge the United States’

claims. While we maintain the validity of the United States’ claims, we recognize that there is

risk and uncertainty if this case, as with any case, were to be litigated. It is likely that the


36
  See Section 113(b), 42 U.S.C. § 7413(b). See also Declaration of Patrick B. Bryan, attached hereto as Exhibit 5,
at ¶¶ 2, 3.
37
     See Complaint Counts 1, 2, 3 and 4.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 15 of 35                     PageID #: 167




resolution of this matter would require the testimony of technical experts with specific

knowledge relating to a number of specialized areas, including the design and function of heated

petroleum storage tanks, the best methods for measuring actual and potential VOC emissions

from such tanks, and the extent of environmental harm associated with such emissions. Such

expert-intensive litigation likely would result in a time-consuming proceeding that would

consume Government resources, including the limited time of EPA enforcement staff, without

any guarantee of the United States succeeding on the merits.

II.        THE CONSENT DECREE

           After issuing the NOVs, EPA and Defendants discussed ways to address the VOC

emissions discussed in the Complaint and to limit the potential for excess and unlicensed

emissions in the future. After lengthy settlement negotiations, in which each side was

represented by experienced counsel and consulted with experts in the relevant technical areas,

Defendants and EPA reached a resolution, the terms of which are reflected in the Consent

Decree.

           As discussed more fully below, the Consent Decree requires Defendants to perform

injunctive relief and other measures, at an estimated cost to Defendants of $250,000, 38 spend at

least $150,000 on a supplemental environmental project (“SEP”) to improve local air quality,

and pay a $40,000 civil penalty. EPA estimates that Defendants’ performance of these injunctive

measures will result in a VOC reduction of 20 tons per year. 39



38
     See Ex. 3 (Kudarauskas Decl.) at ¶ 11.

39
     See Ex. 3 (Kudarauskas Decl.) at ¶ 7.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 16 of 35                       PageID #: 168




           If Defendants fail to meet any of the requirements of the Consent Decree, they would be

subject to stipulated penalties. 40

           A.       Injunctive Relief and Other Measures

           The Consent Decree requires Defendants to implement the following measures to address

past excess VOC emissions and limit future ones:

           •        Heated tank limitations: Defendants will operate no more than four heated

storage tanks containing either No. 6 oil or asphalt, no more than two of which may contain No.

6 oil simultaneously. 41 Limiting the number of tanks that hold No. 6 oil and asphalt limits the

potential VOC emissions from the Facility. 42

           •        Throughput limitations: Defendants will implement throughput limits for No. 6

oil of 50,000,000 gallons per rolling 12 months, and for asphalt of 75,000,000 gallons per rolling

12 months. 43 Setting throughput limits for the Facility reduces the potential for VOC emissions

associated with those products. 44

           •        Non-heating days: Defendants shall not apply heat to No. 6 oil and asphalt

storage tanks at the Facility for at least 120 “non-heating days” during any 12-month rolling

period. 45 A “non-heating day” is any calendar day during which heat is not added to any such




40
     See Decree ¶¶ 30-42.
41
     See Decree ¶ 11.a.
42
     See Ex. 3 (Kudarauskas Decl.) at ¶ 4.

43
     See Decree at ¶ 11.c.

44
     See Ex. 3 (Kudarauskas Decl.) at ¶ 5.
45
     See Decree ¶ 11.b.
                                                    10
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 17 of 35                       PageID #: 169




storage tank. 46 Because heating the tanks above ambient temperatures increases VOC emissions,

limiting the number of days during which Defendants may add heat to the No. 6 oil and asphalt

storage tanks is a measure designed to reduce the potential for emissions of VOCs. 47

           •        License amendments: Defendants will submit to ME DEP an appropriate

application for an amended state license for the Facility that incorporates terms at least as

stringent as those referenced above. 48

           •        Supplemental measures: Defendants shall install equipment expected to reduce

emissions from vapors from its Nov. 6 oil and asphalt heated storage tanks. 49 Defendants have

chosen to install mist eliminators to reduce local impacts of vapors, which may contain VOCs

and odors. 50 Defendants will operate and maintain mist eliminators on the Facility’s heated

storage tanks in accordance with the manufacturer’s specifications. 51 Global has informed EPA

that the estimated cost of the implementation of mist eliminators required by the Consent Decree

is approximately $250,000. 52

           Under the Consent Decree, Defendants will operate the Facility in accordance with the

paragraphs above for the longer of (a) the term of the Consent Decree (at least five years) or




46
     See Decree ¶ 11.b.
47
     See Ex. 3 (Kudarauskas Decl.) at ¶ 6.
48
     See Decree at ¶ 11.e.
49
     See Decree ¶ 11.d; Ex. 3 (Kudarauskas Decl.) at ¶ 11.
50
     See Decree ¶ 11.d; Ex. 3 (Kudarauskas Decl.) at ¶ 11.
51
     See Decree ¶ 11.d; Ex. 3 (Kudarauskas Decl.) at ¶ 11.
52
     See Ex. 3 (Kudarauskas Decl.) at ¶ 11
                                                             11
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 18 of 35                                 PageID #: 170




(b) the period from entry of the Consent Decree until Defendants obtain from the State a license
                                                                                           53
amendment with provisions at least as stringent as those of the Consent Decree.

            B.         Supplemental Environmental Project

            In addition to requiring Defendants to achieve and maintain compliance with the law and

regulations and to pay a civil penalty in this case, Defendants are also required to perform a

supplemental environmental project (“SEP”).

            Within two years after entry of the Consent Decree, Defendants must satisfactorily

complete a SEP involving a wood stove/boiler change-out program, to replace older residential

wood-burning stoves or boilers with updated, less polluting models. 54 Defendants may

implement the SEP through a qualified non-profit organization approved by EPA. 55 Defendants

must spend at least $150,000 to replace older wood stoves or boilers, exclusive of administrative

or other costs of the project. 56 If Defendants fail to complete the SEP within two years after the

Court’s entry of the Decree, they are subject to stipulated penalties on a daily basis. 57

            The SEP will benefit the local community’s environment and otherwise comports with

EPA’s SEP Policy. The SEP has a relationship or “nexus” with a defendants’ violations. 58




53
     See Decree ¶ 11.f.
54
     See Decree ¶ 14.g.
55
     See id. ¶ 14.e.
56
     See id. ¶ 14.c.
57
     Id. at ¶ 34.
58
  See U.S. Envtl. Prot. Agency, EPA Supplemental Environmental Projects Policy 7 (Mar. 10, 2015), available at
https://www.epa.gov/enforcement/2015-update-1998-us-epa-supplemental-environmental-projects-policy.

                                                      12
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 19 of 35                                  PageID #: 171




Under the SEP policy, a project has a “nexus” to a violation if it reduces the public health or

environmental impacts to which the violation contributes, or reduces the overall risk to public

health or the environment potentially affected by the violations at issue. 59 Older wood burning

stoves or appliances tend to be relatively inefficient and to emit more VOCs and NOx than

updated, less-polluting models. 60 Both VOCs and NOx contribute to the formation of ozone,

which can be harmful to human health. 61 Thus, replacement and retrofit of older wood burning

appliances and technologies reduce NOx and VOCs emissions and thus reduce ozone by

addressing two of its precursors. 62 These are the same public health impacts caused by VOC

emissions from Defendants’ facility. Also, harmful particulate matter and hazardous air

pollutants (“HAPs”), such as benzene, formaldehyde, acrolein, and polycyclic aromatic

hydrocarbons, will be reduced through the project. 63 All of these benefits will occur in

Cumberland County, where South Portland is located. 64




59
     See id. at 8.
60
  See U.S. Envtl. Prot. Agency, AP-42, Vol. 1, Ch. 1.10, Residential Wood Stoves, at 1.10.2, available at
https://www3.epa.gov/ttn/chief/ap42/ch01/final/c01s10.pdf; see also U.S. Envtl. Prot. Agency, Final Rule, Standards
of Performance for New Residential Wood Heaters, New Residential Hydronic Heaters, and Forced Air Furnaces,
80 Fed. Reg. 13,671, 13,673 (Mar. 16, 2015); U.S. Envtl. Prot. Agency, Proposed Rule, Standards of Performance
for New Residential Wood Heaters, New Residential Hydronic Heaters, and Forced Air Furnaces, and New
Residential Masonry Heaters, 79 Fed. Reg. 6,329, 6,337 (Feb. 3, 2014).
61
  See Region 1: EPA New England – The Ozone Problem, available on EPA’s website at
https://www3.epa.gov/region1/airquality/oz_prob.html.
62
   See U.S. Envtl. Prot. Agency, Final Rule, Standards of Performance for New Residential Wood Heaters, New
Residential Hydronic Heaters, and Forced Air Furnaces, 80 Fed. Reg. 13,671, 13,674-13,675 (Mar. 16, 2015).
63
   See U.S. Envtl. Prot. Agency, BurnWise, Wood Smoke and Your Health, available at
https://www.epa.gov/burnwise/wood-smoke-and-your-health (identifying toxic air pollutants in wood smoke that are
reduced when wood is burned more efficiently in an EPA-certified stove).
64
     See Decree ¶¶ 13-14.
                                                        13
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 20 of 35                                  PageID #: 172




           C.          Penalty

           The Consent Decree also requires Defendants to pay a civil penalty of $40,000, plus

interest, 65 and is consistent with EPA’s 1991 Clean Air Act Stationary Source Civil Penalty

Policy. 66 Among other things, the penalty reflects the seriousness of the violations while at the

same time recognizing both the defendant’s commitment to perform a valuable SEP 67 and the

parties’ respective assessments of the strengths and weaknesses of their litigation positions.

III.       ARGUMENT

           A.          Legal Standard for Approval of a Consent Decree

           “[I]t is the policy of the law to encourage settlements.” United States v. Cannons Eng’g

Corp., 899 F.2d 79, 84 (1st Cir. 1990) (citation omitted). Indeed, in the First Circuit, there is “a

strong public policy in favor of settlements, particularly in very complex and technical regulatory

contexts.” United States v. Comunidades Unidas Contra la Contaminacion, 204 F.3d 275, 280

(1st Cir. 2000) (citing Conservation Law Found. of New England, Inc. v. Franklin, 989 F.2d 54,

59 (1st Cir. 1993)). “Moreover, such a policy has added bite where the settlement has been

advanced for entry as a decree by a government actor ‘committed to the protection of the public




65
     See Decree ¶ 8.
66
  EPA’s 1991 Clean Air Act Stationary Source Civil Penalty Policy is available publicly at
https://www.epa.gov/enforcement/clean-air-act-stationary-source-civil-penalty-policy-october-25-1991.
67
   Under EPA’s SEP policy, a violator’s commitment to perform a SEP is a relevant factor for EPA to consider in
establishing an appropriate settlement penalty. See U.S. Envtl. Prot. Agency, EPA Supplemental Environmental
Projects Policy 21-24 (Mar. 10, 2015), available at https://www.epa.gov/enforcement/2015-update-1998-us-epa-
supplemental-environmental-projects-policy. The civil penalty component of this settlement takes into account
Defendants’ commitment to perform the SEP, consistent with the SEP policy’s requirements to ensure that the final
penalty amount be sufficient both to “recoup[] the economic benefit a violator gained from noncompliance with the
law,” as well as to “reflect[] the environmental and regulatory harm caused by the violation(s).” Id. at 21

                                                       14
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 21 of 35                        PageID #: 173




interest’ and specially trained and oriented in the field.” Comunidades Unidas, 204 F.3d at 280

(citing Cannons, 899 F.2d at 84)).

       With this backdrop, a district court reviews a consent decree to ensure that it is both

procedurally and substantively fair, reasonable, and consistent with the objectives of the

underlying statute. See City of Bangor v. Citizens Commc’n Co., 532 F.3d 70, 93-94 (1st Cir.

2008); see also Comunidades Unidas, 204 F.3d at 279 (“There is no question that a consent

decree must bear the imprimatur of a judicial judgment that it is fair, adequate, reasonable, and

consistent with the objectives of Congress.”) (citation omitted). Although approval of a consent

decree is a judicial act committed to the informed discretion of the district court, see City of

Bangor, 532 F.3d at 93-94, the court’s role is a limited one. The relevant standard for the court’s

determination is “not whether the settlement is one which the court itself might have fashioned,

or considers ideal, but whether the proposed decree is fair, reasonable, and faithful to the

objectives of the government statute.” Cannons, 899 F.2d at 84; see also United States v.

Colorado, 937 F.2d 505, 509 (10 Cir. 1991) (“While the court may either approve or deny the

issuance of a consent decree, generally it is not entitled to change the terms of the agreement

stipulated to by the parties.”) (citation omitted); Harris v. Pernsley, 654 F. Supp. 1042, 1049

(E.D. Pa. 1987) (“The court may either approve or disapprove the settlement; it may not rewrite

it.”), aff’d 820 F.2d 592 (3d. Cir. 1987). The court’s inquiry need not be all-encompassing and

need not include protracted examination of the precise legal rights of the parties or resolve the

merits of the claims. See In re Idaho Conservation League, 811 F.3d 502, 515 (D.C. Cir. 2016)

(noting that in approving a settlement, a trial court “need not inquire into the precise legal rights



                                                  15
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 22 of 35                      PageID #: 174




of the parties nor reach and resolve the merits of the claims or controversy”) (citations omitted);

accord Comunidades Unidas, 204 F.3d at 281 (citation omitted).

       Not only should a district court’s review of a consent decree be narrow in scope, it also

“must defer heavily to the parties’ agreement and the EPA’s expertise.” United States v. Charles

George Trucking, Inc., 34 F.3d 1081, 1085 (1st Cir. 1994). As the Supreme Court has stated:

       [S]ound policy would strongly lead us to decline . . . to assess the wisdom of the
       Government’s judgment in negotiating and accepting the . . . consent decree, at
       least in the absence of any claim of bad faith or malfeasance on the part of the
       Government in so acting.

Sam Fox Publ’g Co. v. United States, 366 U.S. 683, 689 (1961).

       “The presumption in favor of settlement is particularly strong where a consent decree has

been negotiated by the Department of Justice on behalf of a federal administrative agency

‘specially equipped, trained or oriented in the field,’” such as EPA. United States v. Cannons

Eng’g Corp, 720 F. Supp. 1027, 1035 (D. Mass. 1989) (citation omitted), aff’d, 899 F.2d 79 (1st

Cir. 1990). Accordingly, judicial review of a settlement agreement negotiated by the

government does not involve de novo evaluation of the settlement’s merits or “second guessing”

the Executive Branch’s decision to enter into a proposed settlement. See Comunidades Unidas,

204 F.3d at 280; see also Cannons, 899 F.2d at 84 (courts should “refrain from second-guessing

the Executive Branch”); see generally Sam Fox Publ’g Co., 366 U.S. at 689. Rather, in

reviewing a settlement involving an agency, the court “must exercise some deference to the

agency’s determination that settlement is appropriate.” Conservation Law Found., 989 F.2d at

58 (citing Fed. Trade Comm’n v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 408 (1st Cir. 1987)).

Moreover, the public policy in favor of the resolution of litigation by settlement is particularly

strong in environmental cases. See In re Acushnet River & New Bedford Harbor, 712 F. Supp.
                                                 16
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 23 of 35                      PageID #: 175




1019, 1029 (D. Mass. 1989) (“Congressional purpose is better served through settlements which

provide funds to enhance environmental protection, rather than the expenditure of limited

resources on protracted litigation.”).

       Deference should also be granted to entry of consent decrees with the federal government

because it is an official act of the Attorney General, who has “exclusive authority and plenary

power to control the conduct of litigation in which the United States is involved, unless Congress

specially authorizes an agency to proceed without the supervision of the Attorney General.”

United States v. Hercules, Inc., 961 F.2d 796, 798 (8th Cir. 1992) (citing 28 U.S.C. § 516; FTC

v. Guignon, 390 F.2d 323, 324 (8th Cir. 1968)). This authority places considerable discretion in

the hands of the Attorney General to decide whether, and on what terms, to enter into a

settlement. See Hercules, 961 F.2d at 798 (citing Swift & Co. v. United States, 276 U.S. 311,

331-32 (1928)); see also Cannons, 899 F.2d at 84 (noting that the presumption in favor of

voluntary settlements is “particularly strong where a consent decree has been negotiated by the

Department of Justice on behalf of a federal administrative agency”); Kelley v. Thomas Solvent

Co., 717 F.Supp. 507, 515-16 (W.D. Mich. 1989) (“the balancing of competing interests affected

by a proposed consent decree [to which the government is a party] ‘must be left, in the first

instance, to the discretion of the Attorney General.’” (quoting United States v. Bechtel Corp.,

648 F.2d 660, 666 (9th Cir. 1981))). The district court, however, must ensure that the consent

decree “is not illegal, a product of collusion, or against the public interest.” Colorado, 937 F.2d

at 509. Only a finding that the Decree is a product of “fraud, collusion, or the like” should

preclude its entry. Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977); see Sam Fox Publ’g,

366 U.S. at 689 (noting the sound policy of deferring to the Government’s judgment in

                                                 17
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 24 of 35                          PageID #: 176




fashioning the consent decree “in the absence of any claim of bad faith or malfeasance on the

part of the Government in so acting.”).

        In sum, the Court’s role in reviewing the proposed Consent Decree is relatively limited.

If the consent decree is fair, adequate, and reasonable, and not illegal, the product of collusion, or

against the public interest, it ought to be approved without modification. Moreover, in

determining whether the proposed Consent Decree ought to be approved, the Court should defer

to EPA’s expertise in protecting human health and the environment through implementation of

the Clean Air Act requirements, and to the Attorney General’s expertise in conducting

government litigation, assessing litigation risk, and determining whether settlement terms are in

the public interest.

        As demonstrated below, the proposed Consent Decree meets the three prongs necessary

for district court approval of a settlement: it is fair, reasonable, and faithful to the objectives of

the Act.

        B.      The Decree Is Reasonable, Fair, and Consistent with the Act.

                1.      The Consent Decree is Fair.

        The fairness of a consent decree must be evaluated in both procedural and substantive

aspects. See Cannons, 899 F.2d at 86 (explaining that “fairness in the … settlement context has

both procedural and substantive components).

        Procedural fairness demands that the parties negotiated at arm’s length and in good faith.

United States v. Davis, 261 F.3d 1, 23 (1st Cir. 2001); Comunidades Unidas, 204 F.3d at 281.

Procedural fairness is measured by the level of candor, openness, and bargaining balance

involved in the negotiation process. See Cannons, 899 F.2d at 86.

                                                   18
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 25 of 35                                     PageID #: 177




         Substantive fairness is related to procedural fairness because “[t]o the extent that the

process was fair and full of ‘adversarial vigor,’ the results come before the court with a much

greater assurance of substantive fairness.” Cannons, 899 F.2d at 87 n.4 (internal citation

omitted). Substantive fairness derives from concepts of corrective justice and accountability:

how much or how little should a settling party be expected to do or pay in order to correct

environmental wrongs? Comunidades Unidas, 204 F.3d at 281. Because these concepts are not

easily quantified in environmental cases, EPA’s expertise and conclusions receive “the benefit of

doubt when weighing fairness.” Cannons, 899 F.2d at 88; City of Bangor, 532 F.3d at 97

(“Usually, there is deference to the EPA’s judgment on fairness, and no independent court

inquiry.”).

         The proposed Consent Decree resulted from procedurally fair settlement negotiations.

The negotiations were conducted at arms-length, and continued for a lengthy period of time,

culminating in the lodging of the proposed Consent Decree with the Court. The parties engaged

in contentious and extensive negotiations concerning the terms of the Consent Decree, including

the injunctive relief that Defendants have agreed to perform. Throughout the entirety of this

lengthy process, each side was represented by experienced counsel, and expert consultants with

technical and engineering experience participated in the negotiations. There is no evidence that

the parties proceeded other than in good faith. 68 The Decree reflects the parties’ careful and


68
   As discussed more fully in the Responsiveness Summary, some commenters complain that the penalty, SEP, and
injunctive relief measures contained in the Decree show that the United States “has the backs of big oil,” questioning
the motives or manner in which the United States entered into a settlement with Defendants. See Ex. 1 at PC_001,
005, 029-30, 096). But bare accusations of wrongdoing, without specifics or otherwise pointing to particular record
references, are not enough to upset an EPA consent decree. See Comunidades Unidas, 204 F.3d at 281 (citing
United States v. District of Columbia, 933 F.Supp. 42, 48-49 (D.D.C. 1996)). Furthermore, the Decree achieves real
reductions in VOC emissions that will benefit the environment. See Ex. 3 (Kudarauskas Decl.) at ¶ 7.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 26 of 35                        PageID #: 178




informed assessment of how to bring Defendants into compliance with the Act. Where, as here,

a proposed consent decree is “the product of good faith, arms-length negotiations,” it is

“presumptively valid.” United States v. Oregon, 913 F.2d 576, 581 (9th Cir. 1990) (citation

omitted). And, “[t]he presumption in favor of settlement is particularly strong where a consent

decree has been negotiated by the Department of Justice on behalf of a federal administrative

agency specially equipped, trained or oriented in the field,” such as EPA. Cannons, 720 F. Supp.

at 1035. Additionally, as with any fair settlement, both the United States and Defendants are

resolving the alleged violations without further costs and delays associated with litigation.

Davis, 261 F.3d at 26 (noting that a consent decree may take into account “reasonable discounts

for litigation risks, time savings, and the like that may be justified”). For these reasons, the

Decree is procedurally fair.

           The Consent Decree also is substantively fair. EPA estimates the Consent Decree will

result in a VOC reduction of about 20 tons per year at the Global facility. 69 The Decree also

provides additional benefits to the air quality of the local area through Defendants’ performance

of the SEP. And the civil penalty, together with the significant costs associated with Defendants’

performance under the Decree, including the SEP, serves to deter others from polluting the air in

violation of the Act. Moreover, Defendants are also subject to stipulated penalties for not

complying with the Decree’s obligations, which should deter future violations. Thus, the Decree

is fair and reflects EPA’s careful technical and environmental assessment, and any benefit of the

doubt should be resolved in EPA’s favor. Cannons, 899 F.2d at 88; City of Bangor, 532 F.3d at




69
     See Ex. 3 (Kudarauskas Decl.) at ¶ 7.
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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 27 of 35                                       PageID #: 179




97 (“Usually, there is deference to the EPA’s judgment on fairness, and no independent court

inquiry.”). 70

                  2.       The Consent Decree is Reasonable.

         The reasonableness of a proposed consent decree depends on how well the relief is

tailored to redress the injuries alleged in the complaint. Comunidades Unidas, 204 F.3d at 281.

Courts need not examine the reasonableness of proposed consent decrees for “mathematical

precision,” but should defer to the EPA’s judgment on whether the decree is reasonable. Davis,

261 F.3d at 26. The reasonableness of an environmental consent decree may be determined in

light of whether it is technically adequate to cleanse the environment and takes into account the

risks of litigation. Cannons, 899 F.2d at 89-90. In assessing a decree’s reasonableness, courts

holistically review the relief sought. See United States v. District of Columbia, 933 F. Supp. 42,

51 (D.D.C. 1996) (finding a decree reasonable, even though United States had made a

“conscious decision not to seek penalties”); United States v. Kerr-McGee Corp., No. 07-CV-

01034, 2008 WL 863975, at *9 (D. Colo. Mar. 26, 2008) (reviewing a consent decree as a whole


70
   As discussed more fully in the attached Responsiveness Summary addressing the public comments, commenters
expressed frustration that the City of South Portland (and perhaps other entities) were not involved in the settlement
negotiations with Defendants. As the First Circuit has held, the United States is generally not required to negotiate
environmental consent decrees in public.

         [T]he government is under no obligation to telegraph its settlement offers, divulge its
         negotiating strategy in advance, or surrender the normal prerogatives of strategic
         flexibility which any negotiator cherishes…. So long as it operates in good faith, the EPA
         is at liberty to negotiate and settle with whomever it chooses.

United States v. Cannons Eng’g Corp., 899 F.2d 79, 93 (1st Cir. 1990). See also United States v.
Comunidades Unidas Contra La Contaminacion, 204 F.3d 275, 277 (1st Cir. 2000) (court
rejected objections to a settlement based upon lack of participation by intervener in
negotiations); United States v. Town of Moreau, New York, 979 F. Supp. 129, 135 (N.D.N.Y.
1997) aff’d sub. nom. United States v. Glens Falls Newspapers, Inc., 160 F.3d 853 (2d. Cir. 1998) (“it is doubtful
that a public settlement conference would ever permit the type of give and
take that would lead to an agreed resolution of the dispute.”).

                                                          21
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 28 of 35                            PageID #: 180




and concluding that the “relatively modest civil penalty assessment is counterbalanced by its

injunctive provisions”) (citation omitted).

            As detailed above, the Decree is reasonable and technically adequate because it requires

specific, tailored corrective actions that Defendants must take to address the violations identified

in the Complaint. Defendants must implement injunctive relief measures (at an estimated cost to

Defendants of $250,000), 71 perform a SEP to improve local air quality (which will cost

Defendants no less than $150,000), and pay a $40,000 civil penalty. The Decree will help

cleanse the environment, resulting in a VOC reduction of about 20 tons per year at the Global

facility. 72

            Settlement of this matter also reflects the risks of litigation and “the policy of the law to

encourage settlements.” Cannons, 899 F.2d at 84 (1st Cir. 1990); see also Comunidades Unidas,

204 F.3d at 280 (noting “the strong public policy in favor of settlements, particularly in very

complex and regulatory contexts”). “It is almost axiomatic that voluntary compliance on an

issue where there is a potential disagreement is a better alternative than the uncertainty of

litigation over that issue.” District of Columbia, 933 F. Supp. at 51. That this is a case that

likely would require a battle of experts emphasizes the reasonableness of the proposed Decree as

an alternative to costly and uncertain litigation.




71
     See Ex. 3 (Kudarauskas Decl.) at ¶ 11.

72
     See id. at ¶ 7.

                                                      22
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 29 of 35                     PageID #: 181




                    3.       The Consent Decree Advances the Act’s Goals.

           The Decree also advances the Act’s goals. Congress passed the Act “to protect and

enhance the quality of the Nation’s air resources so as to promote the public health and welfare

and the productive capacity of its population.” 73 The Consent Decree furthers these objectives

by requiring Defendants to take specific steps to minimize emissions that are harmful to human

health and the environment from the Facility, resulting in less tonnage of VOC emissions per

year. EPA acted when it perceived Defendants to be in violation of the ME SIP and the Act,

even though the case presented technical challenges and litigation risk. “Congressional purpose

is better served through settlements which provide funds to enhance environmental protection,

rather than the expenditure of limited resources on protracted litigation.” In re Acushnet River,

712 F. Supp. At 1029. The proposed Decree is consistent with the Act’s goals, and the Court

should enter it as a final judgment in this matter. See Charles George Trucking, 34 F.3d at 1085

(district court “must defer heavily to the parties’ agreement and the EPA’s expertise”).

           C.       The Comments Received During the Period for Public Comment Do
                    Not Warrant Disapproval of the Consent Decree.

           The United States received approximately 90 comments during the public comment

period. The United States has carefully considered the comments and addressed them in detail in

the Responsiveness Summary, attached hereto as Exhibit 2. The comments indicate that

residents of South Portland are concerned about the potential for adverse health and

environmental impacts in connection with Defendants’ Facility and other petroleum tank farms

in the South Portland area. The United States appreciates the importance of these concerns and



73
     Section 101(b)(1), 42 U.S.C. § 7401(b)(1).
                                                   23
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 30 of 35                                        PageID #: 182




the active participation of the public in commenting on the proposed Decree. However, the

comments do not disclose facts or considerations that indicate that the proposed judgment is

inappropriate, improper, or inadequate. The commenters’ key concerns (odors and health

impacts) are outside the specific pollutant problem that is the focus of this case. And the

residents have been heard as local and state authorities have taken action through initiation of a

monitoring program 74 and passing legislation requiring the state agency to share information

about air violations with communities. 75

            Although the Responsiveness Summary addresses these points at greater length, for ease

of reference, the United States highlights three of the more common comments here.

            First, many commenters are concerned about the local impacts of odors and possible

hazardous air pollutants (“HAPs”) on the community. While local concerns are important, they

go beyond the limited scope of the Complaint. As discussed previously, the specific concern

addressed by the laws and regulations at issue in the Complaint is the formation of ground-level

ozone that may occur as a result of VOC emissions. 76 Ozone is one of six principal pollutants

for which EPA has set NAAQS that apply in Maine and nationally. 77 Thus, the United States



74
  See Press Release, “South Portland Partners With ME DEP for Air Quality Monitoring,” May 30, 2019, available
at https://www.southportland.org/files/4015/5931/4906/Press_Release_-
_DEP_Air_Quality_Monitoring_053019.pdf.
75
  See generally https://www.maine.gov/governor/mills/news/governor-mills-signs-bills-law-2019-06-17 (“An Act
To Ensure Public Notifications of Air Violations”); “Mills Signs Bill Requiring State To Alert Communities To
Federal Air Quality Violations,” Portland Press Herald, June 18, 2019 (updated June 19, 2019), by Scott Thistle,
available at https://www.pressherald.com/2019/06/18/mills-signs-bill-requiring-state-to-notify-cities-of-federal-air-
quality-violations/.
76
     See Ex. 3 (Kudarauskas Decl.) at ¶ 2.
77
     See Criteria Air Pollutants, available on EPA’s website at https://www.epa.gov/criteria-air-pollutants.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 31 of 35                                    PageID #: 183




asserts claims in the Complaint under the ME SIP to address excess and unlicensed VOC

emissions at the Facility, which affect the potential for ozone formation in the area. The Decree,

accordingly, calls for Defendants to take measures designed to limit VOC emissions at its

Facility, and to obtain appropriate license conditions governing the VOC emissions to address

the threat to ground-level ozone levels in the area. Likewise, the focus of the SEP is to reduce

ozone (by reducing its precursors, NOx and VOCs) in the local area.

           Although the Complaint does not address odors, as part of the settlement, Global will

install mist eliminators to reduce local impacts of vapors, which may contain VOCs and odors. 78

Global will operate and maintain mist eliminators on the heated storage tanks at the Facility in

accordance with the manufacturer’s specifications. 79

           Further, the Complaint does not address HAPs, which are regulated under a separate

CAA regulatory program. 80 Unlike ozone, EPA regulates HAPs under Section 112 of the Act,

42 U.S.C. § 7412, and the National Emissions Standards for Hazardous Air Pollutants

(“NESHAP”) program, which are not at issue in this action. Thus, comments that the Decree

does not do enough to combat odors and health risks associated with HAPs and other air toxics

are beyond the scope of this case.

           Second, several commenters expressed concern that the Consent Decree does not include

an ambient or fence-line air monitoring program – either as a SEP or otherwise as part of the



78
     See Decree ¶ 11.d; Ex. 3 (Kudarauskas Decl.) at ¶ 11.
79
     See Decree ¶ 11.d; Ex. 3 (Kudarauskas Decl.) at ¶ 11.
80
 Under the current air emissions limit of 9.9 tons per year of HAPs, the Facility cannot operate as a major source of
HAPs and so is not subject to CAA requirements for major source HAPs. See Ex. 3 (Kudarauskas Decl.) at ¶ 10.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 32 of 35                               PageID #: 184




injunctive relief. This, too, is not a valid basis to deny entry of the Decree. The Act does not

require the implementation or funding of an air monitoring program to redress the violations at

issue. Moreover, SEPs are programs that a defendant takes voluntarily as part of a settlement to

perform measures beyond what could be obtained through a court order to return a defendant to

compliance. A defendant cannot be compelled to adopt a particular project as a SEP. Hence,

any objection that the Decree should require the Defendants to perform air monitoring cannot

serve to defeat entry of the Decree. In the public comment it submitted regarding the Decree,

ME DEP suggested that a citywide air monitoring program should be included in the Decree as a

SEP instead of a wood-stove SEP. 81 As discussed in the attached Responsiveness Summary,

since the date when ME DEP submitted its comment on the Decree, the City of South Portland

announced that it and ME DEP have begun implementation of such an air monitoring program. 82

           Third, commenters say that the City of South Portland did not receive sufficient notice of

Defendants’ violations. As discussed in more detail in the Responsiveness Summary, although it

was not legally required to provide notice to the City of South Portland, EPA, in fact, discussed

the NOVs with the City. In 2016, during a meeting with the City of South Portland to discuss a

proposed ambient air monitoring program that EPA was seeking to fund through a grant, an

employee of EPA provided the City Manager at the time with information on EPA’s CAA

enforcement efforts in the area, including that EPA had issued four NOVs in connection with




81
     See Ex. 1 at PC _031-032.
82
  See Press Release, “South Portland Partners With ME DEP for Air Quality Monitoring,” May 30, 2019, available
at https://www.southportland.org/files/4015/5931/4906/Press_Release_-
_DEP_Air_Quality_Monitoring_053019.pdf.

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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 33 of 35                             PageID #: 185




storage of petroleum products in South Portland.83 Two of these NOVs related to Defendants’

operations that form the basis of the Complaint in this action. 84 And, as discussed previously,

EPA recorded the issuance of the NOVs to Defendants on the ECHO database, available to the

public online. 85


IV.         CONCLUSION

            Because the Consent Decree is fair, reasonable, and consistent with the goals of the Act,

the United States respectfully requests that the Consent Decree be entered as an order of the

Court.

                                                          Respectfully Submitted,

                                                          ELLEN M. MAHAN
                                                          Deputy Section Chief
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October 15, 2019                                          /s/ Patrick B. Bryan
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83
     See Declaration of Patrick Bird, attached as Exhibit 4, at ¶ 6.
84
     See Ex. 3 (Kudarauskas Decl.) at ¶ 14.
85
     See id. at ¶ 15.
                                                              27
Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 34 of 35             PageID #: 186




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Case 2:19-cv-00122-DBH Document 19 Filed 10/15/19 Page 35 of 35                      PageID #: 187



                                     CERTIFICATE OF FILING

       I certify that on October 15, 2019, I electronically filed the foregoing United States’

Consented-To Motion To Enter Consent Decree With Incorporated Memorandum Of Law.

Notice of this filing will be sent by e-mail to counsel of record by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.




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